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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                            CENTRAL DIVISION AT LEXINGTON

  IN RE CLASSICSTAR MARE                  )
  LEASE LITIGATION                        )
                                          )                   MDL NO. 1877
  AND                                     )
                                          )
  WEST HILLS FARMS, LLC                   )               MASTER FILE:
                                          )      CIVIL ACTION NO. 5:07-CV-353-JMH
                  PLAINTIFF               )
                                          )                        AND
  V.                                      )
                                          )      CIVIL ACTION NO. 5:06-CV-243-JMH
  CLASSICSTAR, LLC, ET AL.                )
                                          )
                  DEFENDANTS              )

                                       AGREED ORDER

          The parties being in agreement, Third-Party Defendants Hanna Strader, P.C., and Joseph

  Hanna (the “Hanna Defendants”), having appeared in this action, and the Court being

  sufficiently advised,

          IT IS HEREBY ORDERED that the Third-Party Complaint of GeoStar Corporation

  against the Hanna Defendants be, and is, DISMISSED WITH PREJUDICE.



                                              _________________________________________
                                              JUDGE, UNITED STATES DISTRICT COURT


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